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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

---------------------------------x
-
ALISSA FREDRICKS,
                                 :
                     Plaintiff,                       Civil Action
                                 :                    No. 19-10331-RGS
           v.
                                 :
MARKEL CATCO INVESTMENT
MANAGEMENT LTD AND MARKEL        :
CORP.,
                                 :
                     Defendants.
---------------------------------x
-

               TRANSMITTAL DECLARATION OF JAMES R. CARROLL

               I, JAMES R. CARROLL, pursuant to 28 U.S.C. § 1746, declare as follows:

               1.     I am a member of the bars of the Commonwealth of Massachusetts and the

United States District Court for the District of Massachusetts, and a member of the law firm of

Skadden, Arps, Slate, Meagher & Flom LLP, counsel for Defendants Markel CATCo Investment

Management Ltd ("MCIM") and Markel Corporation ("Markel," together with MCIM, "the

Defendants") in the above-captioned action.

               2.     I make this declaration in connection with Defendants' Motion To Dismiss

Plaintiff's Amended Complaint, filed herewith, and for the purpose of transmitting to the Court a

true and correct copy of the following document attached as an Exhibit to this Declaration:

                Exhibit    Document

                1.         Employment Agreement between Plaintiff and MCIM dated
                           December 21, 2016
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            I declare under penalty of perjury that the foregoing is true and correct.

Dated: April 29, 2019                             Respectfully submitted,
       Boston, Massachusetts
                                                  /s/ James R. Carroll
                                                  James R. Carroll (BBO #554426)
                                                  SKADDEN, ARPS, SLATE,
                                                      MEAGHER & FLOM LLP
                                                  500 Boylston Street
                                                  Boston, Massachusetts 02116
                                                  (617) 573-4800
                                                  james.carroll@skadden.com

                                                  Counsel for Defendants
                                                  Markel CATCo Investment Management Ltd
                                                  and Markel Corporation




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